 Case 1:21-cr-00041-DKW Document 1 Filed 03/25/21 Page 1 of 4       PageID #: 1


                                                                      FILED IN THE
                                                             UNITED STA TES DISTRICT COURT
                                                                    STATES
                                                                  DISTRICT OF HAWAII
                                                                March 25, 2021 4:46 pm (ea)
JUDITH A. PHILIPS                                             Michelle
                                                              Mic       Rynne, C
                                                                  helle Rynne, Clerk   of Court
                                                                                 le rk of Court
Acting United States Attorney
District of Hawaii

CRAIG S. NOLAN
MICHAEL NAMMAR
Assistant United States Attorneys
Room 6-100, PJKK Federal Building
300 Ala Moana Boulevard
Honolulu, Hawaii 96850
Telephone: (808) 541-2850
Fax: (808) 541-2958
E-Mail: Craig.Nolan@usdoj.gov
        Michael.Nammar@usdoj.gov

Attorneys for Plaintiff
UNITED STATES OF AMERJCA

                IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAll

UNITED STATES OF AMERICA,             )   CR. NO. 21-00041 JMS
                                      )
                  Plaintiff,          )   INFORMATION
                                      )
      vs.                             )   [18 U.S.C. § § 1343 andl346]
                                      )
WILLIAM WONG,                         )
                                      )
                  Defendant.          )
_ _ _ _ __                 _ __       )

                                INFORMATION

The United States Attorney charges:
 Case 1:21-cr-00041-DKW Document 1 Filed 03/25/21 Page 2 of 4             PageID #: 2




                             Honest Services Wire Fraud
                            (18 U.S.C. §§ 2, 1343, and 1346)

      1.     On or about and between January 2017 and March 2020, both dates

being approximate and inclusive, within the District of Hawaii and elsewhere,

Defendant WILLIAM WONG and Kanani Padeken, charged elsewhere, devised

and intended to devise a scheme and artifice to defraud and deprive the citizens of

the City and County of Honolulu and its Department of Planning and Permitting

("DPP") of their rights to the honest and faithful services of Padeken, who was

then employed by DPP as a Building Plans Examiner, through bribery and the

concealment of material information.

      2.     The purpose of the scheme and artifice was for Padeken to secretly

use her official position to enrich herself by soliciting and accepting gifts,

payments, and other things of value from Defendant in exchange for favorable

official action, and for Defendant to enrich himself by secretly obtaining favorable

official action for himself, his companies, and his clients through corrupt means.

      3.     The scheme and artifice was carried out by the following manner and

means, among others:

             a.     Padeken solicited and accepted gifts, payments, and other

      things of value totaling at least $28,400.00 from Defendant. The things of

      value included a bribe of $1,600.00 paid by check and deposited in




                                           2
 Case 1:21-cr-00041-DKW Document 1 Filed 03/25/21 Page 3 of 4          PageID #: 3




      Padeken' s account at a credit union in Honolulu, Hawaii on or about

      October 1, 2018.

            b.     Padeken provided favorable official action on behalf of

      Defendant as requested and as opportunities arose, including approving

      building projects submitted for approval to DPP by Defendant ahead of

      projects previously submitted by others.

            c.     Defendant and Padeken took steps to hide, conceal, and cover

      up Padeken' s activity and the nature and scope of their dealings with each

      other, including by their use of text messages between Padeken' s personal

      cell phone and Defendant to carry out the scheme, and by their failure to

      inform DPP of the payments by Defendant to Padeken in exchange for the

      expedited review of his projects.

      4.    For the purpose of executing the aforesaid scheme and artifice to

defraud, and attempting to do so, Padeken and Defendant transmitted and caused to

be transmitted certain writings, signs, signals, and sounds in interstate commerce,

including on or about October 1, 2018, a wire communication by Padeken's credit

II

II

II

II

                                          3
     Case 1:21-cr-00041-DKW Document 1 Filed 03/25/21 Page 4 of 4         PageID #: 4
•


    union for the clearing and payment of a check from Defendant to Padeken for

    $1,600.00 deposited into Padeken' s account.

          All in violation of Title 18, United States Code, Sections 2, 1343, and 1346.

          DATED: March 25, 2021, Honolulu, Hawaii.




    ~
    Acting United States Attorney
    District of Hawaii

           l
    CRAIG S NOLAN
    MICHAEL NAMMAR
    Assistant United States Attorneys




    United States v. Wi lliam Wong
    Information
    Cr. No. 2 1-00041 JMS




                                            4
